    Case 1:20-cv-02405-EGS Document 68-1 Filed 11/02/20 Page 1 of 2




1. Colorado/Wyoming – service in this district is impacted by COVID-19 and employee
   unavailability. Employees from other facilities are being moved to the processing
   plant to mitigate this problem, as needed. Overtime is being maximized. USPS also
   hired new employees. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on
   October 31, 2020, and in the document titled, “Extraordinary Measures – Return
   Ballot Mail Processing Policy,” dated October 28, 2020, special, extraordinary
   measures to process and deliver ballots are now in place.

2. Greater Indiana – service scores in this district do not include ballots that are
   turned around in local delivery units, which are delivered the same day with a near
   100% success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on
   October 31, 2020, and in the document titled, “Extraordinary Measures – Return
   Ballot Mail Processing Policy,” dated October 28, 2020, special, extraordinary
   measures to process and deliver ballots are now in place.

3. Oklahoma – service scores in this district do not include ballots that are turned
   around in local delivery units, which are delivered the same day with a near 100%
   success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on October
   31, 2020, and in the document titled, “Extraordinary Measures – Return Ballot Mail
   Processing Policy,” dated October 28, 2020, special, extraordinary measures to
   process and deliver ballots are now in place.

4. N. New England – service scores in this district do not include ballots that are
   turned around in local delivery units, which are delivered the same day with a near
   100% success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on
   October 31, 2020, and in the document titled, “Extraordinary Measures – Return
   Ballot Mail Processing Policy,” dated October 28, 2020, special, extraordinary
   measures to process and deliver ballots are now in place.

5. Kentuckiana – service scores in this district do not include ballots that are turned
   around in local delivery units, which are delivered the same day with a near 100%
   success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on October
   31, 2020, and in the document titled, “Extraordinary Measures – Return Ballot Mail
   Processing Policy,” dated October 28, 2020, special, extraordinary measures to
   process and deliver ballots are now in place.

6. Central Pennsylvania – service in this district is impacted by COVID-19 and
   employee unavailability. Employees from other facilities are being moved to the
   processing plant to mitigate this problem, as needed. Overtime is being maximized.
   USPS has also hired new employees. As discussed in Mr. Barber’s and Mr.
   Coleman’s testimony on October 31, 2020, and in the document titled,
   “Extraordinary Measures – Return Ballot Mail Processing Policy,” dated October 28,
   2020, special, extraordinary measures to process and deliver ballots are now in
   place.

7. Detroit – service in this district is impacted by COVID-19 and employee
   unavailability. Employees from other facilities are being moved to the processing
   plant to mitigate this problem, as needed. Overtime is being maximized. USPS has
   also hired new employees. As discussed in Mr. Barber’s and Mr. Coleman’s
        Case 1:20-cv-02405-EGS Document 68-1 Filed 11/02/20 Page 2 of 2




       testimony on October 31, 2020, and in the document titled, “Extraordinary Measures
       – Return Ballot Mail Processing Policy,” dated October 28, 2020, special,
       extraordinary measures to process and deliver ballots are now in place.

   8. Mid-Carolinas – service scores in this district do not include ballots that are turned
      around in local delivery units, which are delivered the same day with a near 100%
      success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on October
      31, 2020, and in the document titled, “Extraordinary Measures – Return Ballot Mail
      Processing Policy,” dated October 28, 2020, special, extraordinary measures to
      process and deliver ballots are now in place.

   9. Greensboro – service scores in this district do not include ballots that are turned
      around in local delivery units, which are delivered the same day with a near 100%
      success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on October
      31, 2020, and in the Extraordinary Measures – Return Ballot Mail Processing
      Policy,” dated October 28, 2020, special, extraordinary measures to process and
      deliver ballots are now in place.

   10. Greater S. Carolina – service scores in this district do not include ballots that are
       turned around in local delivery units, which are delivered the same day with a near
       100% success rate. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on
       October 31, 2020, and in the document titled, “Extraordinary Measures – Return
       Ballot Mail Processing Policy,” dated October 28, 2020, special, extraordinary
       measures to process and process and deliver ballots are now in place.

   11. Greater Michigan – service in this district is impacted by COVID-19 and employee
       unavailability. Employees from other facilities are being moved to the processing
       plant service scores in this district do not include ballots that are turned around in
       local delivery units, which are delivered the same day with a near 100% success
       rate. employees. As discussed in Mr. Barber’s and Mr. Coleman’s testimony on
       October 31, 2020, and in the document titled, “Extraordinary Measures – Return
       Ballot Mail Processing Policy,” dated October 28, 2020, special, extraordinary
       measures to deliver ballots are now in place.

    For those additional districts that had an inbound ballot processing score of either (i)
less than 80 percent on October 31, 2020 or (ii) less than 90 percent on October 30, 2020
and October 31, 2020, Defendants again caution, as they have previously, that the daily
reports are unreliable for a number of reasons. Further, service scores in the districts do
not include ballots that are turned around in local delivery units, which are delivered the
same day with a near 100% success rate. In all processing plants, extraordinary measures
are being and will be put into place, as set forth in the testimony and Extraordinary
Measures memorandum discussed above.
